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           Exhibit C
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                                DEPARTMENT OF THE ARMY
                            SAVANNAH DISTRICT, CORPS OF ENGINEERS
                                  100 W. OGLETHORPE AVENUE
                                SAVANNAH, GEORGIA 31401-3604

                                      MARCH o 7 201?

 Regulatory Division
 SAS-2014-00615




 Mr. Ron Sluder
 Mortgage of America
 167 West Cherry Street
 Jesup, Georgia 31546

 Dear Mr. Sluder:

    I refer.to the Pre-Construction Notification submitted on February 13, 2017,
 requesting verification for use of Nationwide Permit (NWP) Numbers 14 and 18 for
 impacts to 0.442 acres of wetland for construction of an access road and four residential
 lot developments. The project site is located south of North Harrington Road and east
 of Frederica Road, St. Simons Island, Glynn County, Georgia (Latitude 31.211067
 Longitude -81.373203). The request was submitted on your behalf by Mr. Stuart Sligh
 of Sligh Environmental Consultants. This project has been assigned number
 SAS-2014-00615 and it is important that you refer to this number in all communication
 concerning this matter.

    We have completed coordination with other federal and state agencies as described
 in Part C (31 )(d) of our NWP Program, published in the February 12, 2012, Federal
 Register, Vol. 77, No. 34, Pages 10184-10290 (77 £B). The NWPs and Savannah
 District’s Regional Conditions for NWPs can be found on our website at
 http://www.sas.usace.armv.mil/Missions/Reaulatorv/Permittinq/GeneralPermits/Nationwi
 dePermits.aspx. During our coordination procedure, no adverse comments regarding
 the proposed work were received.

   As a result of our evaluation of your project, we have determined that the proposed
 activity is authorized under NWP 14 Linear Transportation Projects and NWP 18 Minor
 Discharges, as described in Part B of the NWP Program. Your use of these NWPs is
 valid only if:

    a. The activity is conducted in accordance with the information submitted and meets
 the conditions applicable to the NWPs, as described at Part C of the NWP Program and
 the Savannah District’s Regional Conditions for NWPs.

   b. Prior to the commencement of permitted work in streams, wetlands or other
 waters of the United States, you shall purchase 2.95 wetland mitigation credits from
 Wilkinson Oconee Wetland Mitigation Bank and submit documentation of this credit
 purchase to the U.S. Army Corps of Engineers. The credit purchase documentation




                                                                                Baker 000671
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                                             - 2 -




 must reference the Corps file number assigned to this project. If all or a portion of the
 required credits are not available from Wilkinson Oconee Wetland Mitigation Bank, you
 must obtain written approval from the Corps prior to purchasing any credits from an
 alternate mitigation bank.

   c. You shall obtain and comply with all appropriate federal, state, and local
 authorizations required for this type of activity. A stream buffer variance may be
 required from the Georgia Department of Natural Resources, Environmental Protection
 Division (Georgia EPD), as defined in the Georgia Erosion and Sedimentation Control
 Act of 1975, as amended. Information concerning variances can be obtained at the
 Georgia EPD's website atwww.epd.georgia.gov, or by calling (404) 463-1511.

   d. All work conducted under this permit shall be located, outlined, designed,
 constructed and operated in accordance with the minimal requirements of the Georgia
 Erosion and Sedimentation Control Act of 1975, as amended. Utilization of plans and
 specifications contained in the "Manual for Erosion and Sediment Control," (Latest
 Edition), published by the Georgia Soil and Water Conservation Commission, will aid in
 achieving compliance with the aforementioned minimal requirements,

    e. You shall install and maintain erosion and sediment control measures in upland
 areas of the project site, in accordance with the Georgia Erosion and Sedimentation
 Control Act of 1975, as amended, to minimize the introduction of sediment into and the
 erosion of streams, wetlands and other waters of the United States. This permit does
 not authorize installation of check-dams, weirs, riprap, bulkheads or other erosion
 control measures in streams, wetlands or other waters of the United States.
 Authorization would be required from the U.S. Army Corps of Engineers prior to
 installing any erosion control measures in waters of the United States.

    f. You shall install and maintain erosion and sediment control measures for all fill
 material that is authorized to be discharged in streams, wetlands and other waters of
 the United States, in accordance with the Georgia Erosion and Sedimentation Control
 Act of 1975, as amended, and permanently stabilize fill areas at the earliest practicable
 date.

   g. You shall notify the Corps, in writing, at least 10 days in advance of
 commencement of work authorized by this permit.

   h. You fill out and sign the enclosed certification and return it to our office within
 30 days of completion of the activity authorized by this permit.




                                                                                    Baker 000672
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                                             -3-




   i. All work will be conducted in accordance with the approved plans titled “Captains
 Cove Phases I and II, St. Simons Island, Glynn County, Georgia, Mortgage of America,
 Sheets 1-4 of 4", dated February 4, 2017 and drawn by Coastal Engineering
 Consultants, Inc.

    This proposal was reviewed in accordance with Section 7 of the Endangered Species
 Act, Based on the information we have available, we have determined that the project
 would have no effect on any threatened or endangered species nor any critical habitat
 for such species. Authorization of an activity by a NWP does not authorize the "take" of
 threatened or endangered species. In the absence of separate authorization, both
 lethal and non-lethal "takes" of protected species are in violation of the Endangered
 Species Act. See Part (C) of 77 FR for more information.

    This verification is valid until the NWP is modified, reissued or revoked. All of the
 existing NWPs are scheduled to expire on March 18, 2017. It is incumbent upon you to
 remain informed of changes to the NWPs. Furthermore, if you commence or are under
 contract to commence this activity before the date that the relevant NWP is modified or
 revoked, you will have 12 months from the date of the modification or revocation of the
 NWP to complete the activity under the present terms and conditions of this NWP.

   This authorization should not be construed to mean that any future projects requiring
 Department of the Army authorization would necessarily be authorized. Any new
 proposal, whether associated with this project or not, would be evaluated on a case-by­
 case basis. Any prior approvals would not be a determining factor in making a decision
 on any future request.

    Revisions to your proposal may invalidate this authorization. In the event changes to
 this project are contemplated, I recommend that you coordinate with us prior to
 proceeding with the work.

    This communication does not relieve you of any obligation or responsibility for
 complying with the provisions of any other laws or regulations of other federal, state or
 local authorities. It does not affect your liability for any damages or claims that may
 arise as a result of the work. It does not convey any property rights, either in real estate
 or material, or any exclusive privileges. It also does not affect your liability for any
 interference with existing or proposed federal projects. If the information you have
 submitted and on which the Corps bases its determination/decision of authorization
 under the NWP is later found to be in error, this determination may be subject to
 modification, suspension, or revocation.




                                                                                  Baker 000673
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    A copy of this letter is being provided to the following party: Mr. Stuart Sligh, Sligh
  Environmental Consultants, 31 Park of Commerce Way, Suite 200B, Savannah,
  Georgia 31405.

     Thank you in advance for completing our on-line Customer Survey Form located at
  http://corpsmapu.usace.army.mil/cm apex/f?p=requlatorv survey. We value your
  comments and appreciate your taking the time to complete a survey each time you have
  interaction with our office.

    If you have any questions, please call me at (912) 652-5051.

                                               Sincerely,




                                               John W. Derinzy
                                               Regulatory Specialist, Coastal Branch


 Enclosures




                                                                                    Baker 000674
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 Regulatory Division


                             CERTIFICATION OF COMPLIANCE
                                         WITH
                               DEPARTMENT OF THE ARMY
                                     NWP’s 14 and 18


 PERMIT FILE NUMBER: SAS-2014-00615

 PERMITTEE ADDRESS: Mr. Ron Sluder, Mortgage of America, 167 West Cherry
 Street, Jesup, Georgia 31546.

 LOCATION OF WORK: The project site is located south of North Harrington Road and
 east of Frederica Road, St. Simons Island, Glynn County, Georgia (Latitude 31.211067
 Longitude -81,373203).

 PROJECT DESCRIPTION: The construction of an access road and development of
 four residential lots.

 ACRES AND/OR LINEAR FEET OF WATERS OF THE UNITED STATES IMPACTED:
 0.442 acres of forested wetlands.

 DATE WORK IN WATERS OF UNITED STATES COMPLETED:

 COMPENSATORY MITIGATION REQUIRED: Yes, 2.95 credits from Wilkinson
 Oconee Wetland Mitigation Bank.

 DATE MITIGATION COMPLETED OR PURCHASED (include name of bank):

 I understand that the permitted activity is subject to a U.S. Army Corps of Engineers'
 Compliance Inspection. If I fail to comply with the permit conditions at Part C of the
 Nationwide Permit Program, published in the February 12, 2012, Federal Register. Vol.
 77, No.34, Pages 10184-10290, it may be subject to suspension, modification or
 revocation.

 I hereby certify that the work authorized by the above referenced permit as well as any
 required mitigation (if applicable) has been completed in accordance with the terms and
 conditions of the said permit.




    Signature of Permittee                                                 Date




                                                                              Baker 000675
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Bing Maps                                                                                                                                                                                Page 1 of 1



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 NOTES:
 REFERENCE:

 JURISDICTIONAL WETUND SURVEY PREPARED by M. JERRYTOMBERUN. GA RLS H2&42
 DATED 07/23/2015 AND LAST REVISED ON 01/11/2017.

 WETLAND DATA!

 WETLAND AREA A    0.141 ACRES   JURISDICTIONAL AREA
                   0,000 ACRES   PROPOSED IMPACTS

 WETLAND AREA Q    1.708 ACRES   jurisdiction area
                   0.343 ACRES   NWP 14 PROPOSED IMPACTS (SEE SHEET 2 OF 4)

 WETLAND AREAC     1.530 ACRES   JURISDICTIONAL AREA
                   0.099 ACRES   NWP 10 PROPOSED IMPACTS (SEE SHEET 3 OF 4)

 TOTALS                          TOTAL JURISDICTIONAL AREA
                                 TOTAL PROPOSED IMPACTS




                                                 FILE NUMBER:                 2016-006-COE-1
                                                                                                    CAPTAIN’S COVE
                                                 DATE:                     FEBRUARY 4, 2017           PHASES I & II
                                                                                                   ST. SIMONS ISLAND
                                                 SCALE:                          1“ = 200'
                                                                                                GLYNN COUNTY, GEORGIA
                                                 SHEET NO.:                      1 OF 4              MORTGAGE OF AMERICA

                                                 COASTAL ENGINEERING CONSULTANTS, INC              OVERALL SITE PLAN
                                                              P. O. BOX 20300
              COASTAL                               ST. SIMONS ISLAND, GEORGIA 31522
                                                                                                        TO ACCOMPANY
           E=WGlNEBREIhlG                                                                      PERMIT APPLICATION FOR NWP 14 & 18
          CnNSULTJ NTS                                     PHONE: (912) 223-0647
                                                          EMAIL: JohnH@cec-ga.com               COE CASE NUMBER SAS-2014-00616




                                                                                                                   Baker 000677
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                        FILE NUMBER:       2015-006-COE-2
                                                                   CAPTAIN'S COVE
                        DATE:             FEBRUARY 4, 2017           PHASES I & II
                                                                  ST. SIMONS ISLAND
                        SCALE:                1" = 60'
                                                               GLYNN COUNTY, GEORGIA
                        SHEET NO,:            2 OF 4               MORTGAGE OF AMERICA

                        COASTAL ENGINEERING CONSULTANTS, INC   WETLAND AREA B IMPACTS
                                     P. 0. BOX 20306
       COASTAL                                                         TO ACCOMPANY
                           ST. SIMONS ISLAND, GEORGIA 31522
      ENGINEERING                 PHONE: (012| 223-0647        PERMIT APPLICATION FOR NWP 14
     CONSULTANTS
                                 EMAIL: JohnH@cec-ga.Gom       COE CASE NUMBER SAS-2Q14-00815




                                                                                 Baker 000678
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                                                             Baker 000679
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                                                 40'RIGHT OF WAY WIDTH




                                    CROSS SECTION @ CULVERT
                                            (NWP 14)




                                                                              ----------EXISTING GROUND LINE




           EXISTING GROUND LINE -




                             TYPICAL FILL SECTION @ RESIDENTIAL LOT
                                             (NWP 18)




                                    FILE NUMBER:             2015-006-COE-4
                                                                                         CAPTAIN'S COVE
                                    DATE;                  FEBRUARY 4, 2017                 PHASES I & II
                                                                                        ST. SIMONS ISLAND
                                    SCALE:                       NONE
                                                                                     GLYNN COUNTY, GEORGIA
                                    SHEET NO.:                   4 OF 4                      MORTGAGE OF AMERICA

                                    COASTAL ENGINEERING CONSULTANTS, INC              MISCELLANEOUS DETAILS
                                                 P. O. BOX 20306
       COASTAL                         ST, SIMONS ISLAND, GEORGIA 31522                      TO ACCOMPANY
      ENBINEERlNB                                                                  PERMIT APPLICATION FOR NWP 14 & 18
     COr 5UI ITi T5                           PHONE: (912) 223-0647
                                             EMAIL: JohnH@cec-ga.com                COE GASE NUMBER SAS-2014-00615




                                                                                                               Baker 000680
